                 Case 3:16-cv-05686-JST Document 39 Filed 01/09/17 Page 1 of 2



     SCOTT J. SAGARIA (SBN 217981)
1    ELLIOT W. GALE (SBN 263326)
     JOE ANGELO (SBN 268542)
2    SAGARIA LAW, P.C.th
     2033 Gateway Place, 6 Floor
3    San Jose, CA 95110
     408-279-2288 ph: 408-279-2299 fax
4
     Attorneys for Plaintiff
5

6
                               IN THE UNITED STATES DISTRICT COURT
7
            NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
8

9    PATRICIA JONES,                                   Case No.: 3:16-CV-05686-JST
10                                                     STIPULATION TO DISMISS DEFENDANT
                               Plaintiff,              BANK OF AMERICA, N.A.; PROPOSED
11                                                     ORDER
            v.
12

13
      EXPERIAN INFORMATION
14    SOLUTIONS, INC.; et. al.,
15

16
                               Defendants.
17

18

19

20

21
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

22          IT IS HEREBY STIPULATED by and between plaintiff Patricia Jones and defendant

23   Bank of America, N.A., that Bank of America, N.A. be dismissed from this action with prejudice

24   pursuant to Federal Rules of Civil Procedure, section 41(a)(2), and that each party shall bear its

25   own attorneys’ fees and costs.
26   //
27   //
28




           STIPULATION TO DISMISS DEFENDANT BANK OF AMERICA, N.A.; PROPOSED ORDER - 1
               Case 3:16-cv-05686-JST Document 39 Filed 01/09/17 Page 2 of 2



     DATED: January 5, 2017                    Sagaria Law, P.C.
1

2                                              By:          /s/ Elliot W. Gale
                                                                     Elliot W. Gale
3
                                               Attorneys for Plaintiff
4                                              Patricia Jones

5
     DATED: January 5, 2017                    McGuire Woods LLP
6

7

8                                              By:          /s/ Anthony Le
9
                                                           Anthony Le
                                               Attorneys for Defendant
10                                             Bank of America, N.A.
11

12

13
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
14
     Stipulation. I hereby attest that Anthony Le has concurred in this filing.
15
     /s/ Elliot Gale
16

17

18                                            [PROPOSED] ORDER

19
             Pursuant to the stipulation of the Parties, Defendant Bank of America, N.A. is dismissed
20
     with prejudice.
21
             IT IS SO ORDERED.
22

23

24   DATED: January 9, 2017
25                                                 JON S. TIGAR
26                                                 UNITED STATES DISTRICT JUDGE
27

28




           STIPULATION TO DISMISS DEFENDANT BANK OF AMERICA, N.A.; PROPOSED ORDER - 2
